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                         UNITED STATES DISTRICT COURT
                          DISTRICT OF SOUTH CAROLINA
                             CHARLESTON DIVISION

UNITED STATES OF AMERICA,
ex rel. JAMES A. ROARK, SR. and
MICHAEL L. DAVIS                                           Civil Action File No.

                                  Plaintiffs,            2:19-cv-1047-RMG
                                                       ________________________

v.                                                        FILED UNDER SEAL

                                                       Pursuant to 31 U.S.C. §3730(b)
MEDICAL UNIVERSITY OF SOUTH
CAROLINA; UNIVERSAL HEALTH                          FALSE CLAIMS ACT COMPLAINT
SERVICES d/b/a AIKEN REGIONAL
MEDICAL CENTERS, INC.; GRAND                         DO NOT PLACE IN PRESS BOX
STRAND REGIONAL MEDICAL CENTER,                       DO NOT ENTER ON PACER
LLC; PRISMA HEALTH f/k/a PALMETTO
HEALTH RICHLAND; MAIMONIDES                             JURY TRIAL DEMANDED
MEDICAL CENTER; STATE UNIVERSITY
OF NEW YORK UPSTATE UNIVERSITY
HOSPITAL; BANNER UNIVERSITY
MEDICAL CENTER SOUTH; BELLEVUE
HOSPITAL; NEW YORK UNIVERSITY
LANGONE TISCH HOSPITAL; ATLANTIC
HEALTH SYSTEM d/b/a MORRISTOWN
MEDICAL CENTER; STATE UNIVERSITY
OF NEW YORK DOWNSTATE MEDICAL
CENTER UNIVERSITY HOSPITAL OF
BROOKLYN; UCHEALTH UNIVERSITY
OF COLORADO HOSPITAL; ALLEGHENY
GENERAL HOSPITAL; NEW YORK-
PRESBYTERIAN HOSPITAL/WEILL
CORNELL MEDICAL CENTER;
UNIVERSITY OF MISSOURI HOSPITAL;
ST. LUKE’S-ROOSEVELT HOSPITAL
CENTER d/b/a MOUNT SINAI ST. LUKE’S;
MAYO CLINIC HOSPITAL –SAINT
MARY’S HOSPITAL; UCSF MEDICAL
CENTER; UNIVERSITY OF PITTSBURGH
MEDICAL CENTER PRESBYTERIAN
HOSPITAL; MEMORIAL HERMANN –
TEXAS MEDICAL CENTER;
MASSACHUSETTS GENERAL HOSPITAL;
NORTHWELL HEALTH d/b/a LONG



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ISLAND JEWISH MEDICAL CENTER;
JOHN DOE HOSPITALS 1-86.

                                   Defendants.


                                         COMPLAINT

       COMES NOW Relators James A. Roark, Sr. and Michael L. Davis, on behalf of the

United States of America, and files this qui tam action against Defendants, Medical University of

South Carolina; Universal Health Services doing business as Aiken Regional Medical Centers,

Inc.; Grand Strand Regional Medical Center, LLC; Prisma Health formerly known as Palmetto

Health Richland; Maimonides Medical Center; State University of New York Upstate University

Hospital; Banner University Medical Center South; Bellevue Hospital; New York University

Langone Tisch Hospital; Atlantic Health System doing business as Morristown Medical Center;

State University of New York Downstate Medical Center University Hospital of Brooklyn;

UCHealth University of Colorado Hospital; Allegheny General Hospital; New York-

Presbyterian Hospital/Weill Cornell Medical Center; University of Missouri Hospital; St.

Luke’s-Roosevelt Hospital Center doing business as Mount Sinai St. Luke’s; Mayo Clinic

Hospital – Saint Mary’s Hospital; University of Pittsburgh Medical Center Presbyterian

Hospital; Memorial Hermann – Texas Medical Center; Massachusetts General Hospital;

Northwell Health doing business as Long Island Jewish Medical Center, and John Doe Hospitals

1-86 (collectively “the Defendant Hospitals”), for their knowing acts and omissions in violation

of the False Claims Act, 31 U.S.C. § 3729, et seq.

                                      INTRODUCTION

       1.      Recognizing the increased patient care costs associated with teaching activities,

the Medicare Program provides an additional Indirect Medical Education payment adjustment

to Medicare’s prospective payment rates for inpatient services provided at teaching hospitals.


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This payment adjustment is intended to capture the indirect costs of medical education, such as

the increased number of tests and procedures prescribed by resident physicians (“residents”)

relative to experienced physicians and the increased hospital staffing required to maintain the

teaching program’s medical records.

      2.     The Indirect Medical Education payment adjustments are a significant source of

funding for teaching hospitals. In 2015, the Medicare program paid over $6.6 billion in Indirect

Medical Education payment adjustments.         U.S. Gen. Accounting Office, GAO-18-240,

Physician Workforce: HHS Needs Better Information to Comprehensively Evaluate Graduate

Medical Education Funding 18 (2018).

      3.     The Indirect Medical Education adjustment related to the operating portion of the

Medicare payment is calculated using a formula that takes into account, in part, the hospital’s

ratio of residents to its number of available beds. For teaching hospitals, this adjustment is

added on to the basic price per case for every Medicare discharge paid under the inpatient

prospective payment system (IPPS).

      4.     As more specifically alleged below, Defendant Hospitals falsely underreported

the number of available beds for the operating portion of the Indirect Medical Education

payment adjustment calculation in the cost reports the Defendant Hospitals submitted to the

Centers for Medicare & Medicaid Services (“CMS”) under the Medicare Program.

      5.     As a result of submitting these false, underreported available bed counts to

Medicare, the Defendant Hospitals caused the Medicare Program to pay them falsely inflated

Indirect Medical Education payment adjustments.

      6.     The Defendant Hospitals have actual knowledge that they are engaging in illegal

misconduct or have recklessly disregarded the relevant laws and regulations. Defendants have




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chosen to profit from fraudulently underreporting their available bed counts in order to falsely

inflate the Indirect Medical Education payment adjustments on the operating portion of the

Medicare IPPS per-discharge payment.

                               JURISDICTION AND VENUE

      7.     This is an action by the United States of America ex rel. James A. Roark, Sr. and

Michael L. Davis, against Defendants to recover damages and civil penalties on behalf of the

United States arising from false and/or fraudulent statements, records, and/or claims made and

caused to be made by Defendants and/or their agents and employees in violation of the federal

False Claims Act, 31 U.S.C. § 3729, et seq.

      8.     Pursuant to 28 U.S.C. § 1331, Defendants are subject to federal question

jurisdiction in this Court because this action arises under the laws of the United States,

including the False Claims Act, 31 U.S.C. §§ 3729 and 3730, and other relevant federal statutes.

In addition, the False Claims Act specifically confers jurisdiction upon the United States

District Court. See 31 U.S.C. § 3732(a).

      9.     Defendants are subject to jurisdiction and venue in this Court where “one

defendant can be found, resides, transacts business, or in which any act proscribed by section

3729 occurred.” 31 U.S.C. § 3732(a). Accordingly, jurisdiction and venue are appropriate

because, among other reasons, certain Defendant Hospitals can be found, maintain offices,

transact business, and reside in South Carolina. In addition, acts proscribed by 31 U.S.C. §

3729 occurred in the District of South Carolina. Furthermore, venue is proper in this District

under 28 U.S.C. § 1391 and 31 U.S.C. § 3732(a).

      10.    Relators have direct and independent knowledge of the information on which the

allegations are based and have voluntarily provided disclosure of the allegations of this




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Complaint to the United States prior to filing, as required by the statute. None of the allegations

set forth in this Complaint are based on a public disclosure of allegations or transactions as

defined in 31 U.S.C. §3730(e)(4)(A). Furthermore, if there has been a public disclosure of any

of the allegations underlying this action, Relators qualify as original sources of such

information, pursuant to 31 U.S.C. §3730(e)(4)(B).

                                           PARTIES

         11.   Plaintiff Relator, James A. Roark, Sr., is a citizen of the United States and a

resident of Port Orange, Florida. Relator Roark has extensive experience with Medicare

reimbursement issues. In March 1992, the Secretary of Health and Human Services (“HHS”)

appointed Relator Roark to a three-year term at the Provider Reimbursement Review Board, an

independent panel of five members to which a Medicare provider may appeal if it is dissatisfied

with a final determination by its Medicare contractor or CMS. Since 1976, Relator Roark has

handled reimbursement issues at a number of different hospitals across the country, including

Children’s Hospital in Washington, D.C. from 2009–2013. Prior to his role at hospitals, Relator

Roark handled reimbursement issues as an auditor for insurance and accounting firms. He has

also served as a consultant and provided reimbursement assistance to various providers.

         12.   Relator Roark’s direct and firsthand knowledge of the fraudulent activity

discussed herein began when he worked at Children’s Hospital. To his knowledge and belief,

the Defendant Hospitals’ fraudulent conduct began with the cost reports submitted for fiscal

year 2011, continued until at least the cost reports submitted by the Defendant Hospitals for

fiscal year 2017, and in some cases 2018, and based on information and belief, likely continues

today.




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      13.     Relator Davis is a citizen of the United States and a resident of Washington, D.C.

Relator Davis has forty years of experience related to Medicare, Medicaid, and other federally

funded healthcare programs and has worked with the White House, House of Representatives,

Senate, multiple federal departments and agencies, and state, local, and territorial governments

to accomplish their goals and missions.   Relator currently serves as an independent consultant

and works on issues related to Medicare, Medicaid, veterans’ health, hospitals payments,

coding, reimbursements, and education. From 1995–2005, he was President, CEO, and

Chairman of his own consulting firm, the primary engagements for which involved Medicare

and Medicaid. From 1975–1995, he was the Director, CEO, and Chairman of a private, for

profit minority and veteran consulting firm involved in a number of federal and state

engagements. A Vietnam veteran, Relator Davis also worked for the U.S. Department of

Health, Education, and Welfare.

      14.     Relator Davis’ direct and firsthand knowledge of the fraudulent activity discussed

herein began at the end of 2017. To his knowledge and belief, the Defendant Hospitals’

fraudulent conduct began with the cost reports submitted for fiscal year 2011, continued until at

least the cost reports submitted by the Defendant Hospitals for fiscal year 2017, and in some

cases 2018, and based on information and belief, likely continues today.

      15.     Defendant Medical University of South Carolina is a not-for-profit corporation

duly existing pursuant to, and by virtue of the laws of South Carolina, with its principal office

located at 171 Ashley Avenue, Charleston, South Carolina 29425.

      16.     Defendant Universal Health Services doing business as Aiken Regional Medical

Centers, Inc. is a corporation duly existing pursuant to, and by virtue of the laws of South




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Carolina, with its principal office located at 302 University Parkway, Aiken, South Carolina

29801.

      17.     Defendant Grand Strand Regional Medical Center, LLC is a hospital duly existing

pursuant to, and by virtue of the laws of the State of Delaware, with its principal office located

at 809 82nd Pkwy, Myrtle Beach, South Carolina 29572.

      18.     Defendant Prisma Health formerly known as Palmetto Health Richland is a not-

for-profit corporation duly existing pursuant to, and by virtue of the laws of South Carolina,

with its principal office located at 5 Richland Medical Park Dr., Columbia, SC 29203.

      19.     Defendant Maimonides Medical Center is a domestic not-for-profit corporation,

duly existing pursuant to, and by virtue of the laws of the State of New York, with its principal

office located at 4802 Tenth Avenue, Brooklyn, New York 11219.

      20.     Defendant State University of New York Upstate University Hospital is a hospital

duly existing pursuant to, and by virtue of the laws of the State of New York, with its downtown

campus located at 750 East Adams Street, Syracuse, New York 13210, and its community

campus located at 4900 Broad Road, Syracuse, New York 13215.

      21.     Defendant Banner University Medical Center South is a domestic not-for-profit

corporation duly existing pursuant to, and by virtue of the laws of the State of Arizona, with its

principal office located at 2800 East Ajo Way, Tucson, Arizona 85713.

      22.     Defendant Bellevue Hospital is a medical institution that is owned and operated

by New York City’s Health and Hospitals Corporation duly existing pursuant to, and by virtue

of the laws of the State of New York, with its principal office located at 462 First Avenue, New

York City, New York 10016.




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      23.     Defendant New York University Langone Tisch Hospital is a domestic not-for-

profit corporation duly existing pursuant to, and by virtue of the laws of the State of New York,

with its principal office located at 550 First Avenue, New York, New York 10016.

      24.     Defendant Atlantic Health System doing business as Morristown Medical Center

is a for-profit corporation duly existing pursuant to, and by virtue of the laws of the State of

New Jersey, with its principal office located at 100 Madison Avenue, Morristown, New Jersey

07960.

      25.     Defendant State University of New York Downstate Medical Center University

Hospital of Brooklyn is a corporation duly existing pursuant to, and by virtue of the laws of the

State of New York, with its principal office located at 450 Clarkson Avenue, Brooklyn, New

York 11203.

      26.     Defendant UCHealth University of Colorado Hospital is a domestic not-for-profit

corporation duly existing pursuant to, and by virtue of the laws of the State of Colorado, with its

principal office located at 12605 East 16th Avenue, Aurora, Colorado 80045.

      27.     Defendant Allegheny General Hospital is a domestic not-for-profit corporation

duly existing pursuant to, and by virtue of the laws of the State of Pennsylvania, with its

principal office located at 320 East North Avenue, Pittsburgh, Pennsylvania 15212.

      28.     Defendant New York-Presbyterian Hospital/Weill Cornell Medical Center is a

domestic not-for-profit corporation duly existing pursuant to, and by virtue of the laws of the

State of New York with its principal office located at 525 East 68th Street, New York, New

York 10065.

      29.     Defendant University of Missouri Hospital is a domestic not-for-profit

corporation duly existing pursuant to, and by virtue of the laws of the State of Missouri, with its




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principal office at One Hospital Drive, Columbia, Missouri 65212. The owner and parent

company is Curators of the University of Missouri located at 316 University Hall, Columbia,

Missouri 65211.

      30.     Defendant St. Luke’s-Roosevelt Hospital Center doing business as Mount Sinai

St. Luke’s is a domestic not-for-profit corporation duly existing pursuant to, and by virtue of the

laws of the State of New York with its principal office located at 1111 Amsterdam Avenue,

New York, New York 10025.

      31.     Defendant UCSF Medical Center is a corporation duly existing pursuant to, and

by virtue of the law of the State of California, with its principal office located at 505 Parnassus

Avenue, San Francisco, California 94143.

      32.     Defendant Mayo Clinic Hospital - Saint Mary’s Hospital is a domestic not-for-

profit corporation duly existing pursuant to, and by virtue of the laws of the State of Minnesota

with its principal office located at 1216 2nd Street SW, Rochester, Minnesota 55902.

      33.     Defendant University of Pittsburgh Medical Center Presbyterian Hospital is a

domestic not-for-profit corporation duly existing pursuant to, and by virtue of the laws of the

State of Pennsylvania with its principal office located at 200 Lothrop Street, Pittsburgh,

Pennsylvania 15213.

      34.     Defendant Memorial Hermann - Texas Medical Center is a domestic not-for-

profit corporation duly existing pursuant to, and by virtue of the laws of the State of Texas with

its principal office located at 6411 Fannin Street, Houston, Texas 77030. Defendant’s

Registered Agent is located at 929 Gessner Road, Suite 2586, Houston, Texas 77024.

      35.     Defendant Massachusetts General Hospital is a non-profit corporation duly

existing pursuant to, and by virtue of the laws of the Commonwealth of Massachusetts, and a




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Harvard-affiliated teaching hospital with its principal office located at 55 Fruit Street, Boston,

Massachusetts 02114.

       36.     Defendant Northwell Health doing business as Long Island Jewish Medical

Center is a domestic not-for-profit, acute care hospital duly existing pursuant to, and by virtue

of the laws of the State of New York with its principal office located at 270-05 76th Avenue,

New Hyde Park, New York 11040.

       37.     Defendant John Doe Hospitals 1-86 are additional hospitals duly existing pursuant

to the laws of their respective states that submitted false cost reports to the Government

resulting in over one million dollars of overpayments per hospital.

       38.     The above-listed Defendant Hospitals submit annual cost reports to the Medicare

Program and receive indirect medical education payment adjustments from the federal

government.

                                           THE LAW

   A. The False Claims Act

       39.     During all times relevant to the facts of this case, the False Claims Act provided

in pertinent part that:

               (a) any person who - - (A) knowingly presents, or causes to be
               presented, a false or fraudulent claim for payment or approval; (B)
               knowingly makes, uses, or causes to be made or used, a false
               record or statement material to a false or fraudulent claim; . . . (G)
               knowingly makes, uses, or causes to be made or used, a false
               record or statement material to an obligation to pay or transmit
               money or property to the Government, or knowingly conceals or
               knowingly and improperly avoids or decreases an obligation to pay
               or transmit money or property to the Government,
                                              ****

               is liable to the United States Government for a civil penalty of not
               less than $5,500.00 and not more than $10,000.00, as adjusted by
               the Federal Civil Penalties Inflation Adjustment Act of 1990 (28


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              U.S.C. 2461 Note; Public Law 104-410), plus three times the
              amount of damages which the Government sustains because of the
              act of that person.

                                             ****

              (b) . . . For purposes of this section (1) the terms “knowing” and
              “knowingly” (A) mean that a person, with respect to information
              (i) has actual knowledge of the information; (ii) acts in deliberate
              ignorance of the truth or falsity of the information; or (iii) acts in
              reckless disregard of the truth or falsity of the information; and (B)
              require no proof of specific intent to defraud; (2) the term “claim”
              (A) means any request or demand, whether under contract or
              otherwise, for money or property and whether or not the United
              States has title to the money or property, that (i) is presented to an
              officer, employee, or agent of the United States; or (ii) is made to a
              contractor, grantee, or other recipient, if the money or property is
              to be spent or used on the Government’s behalf or to advance a
              Government program or interest, and if the United States
              Government (I) provides or has provided any portion of the money
              or property requested or demanded; or (II) will reimburse such
              contractor, grantee, or other recipient for any portion of the money
              or property which is requested or demanded; . . . (3) the term
              “obligation” means an established duty, whether or not fixed,
              arising from an expressed or implied contractual, grantor-grantee,
              or licensor-licensee relationship, from a fee-based or similar
              relationship, from statute or regulation, or from the retention of any
              overpayment; and (4) the term “material” means having a natural
              tendency to influence, or be capable of influencing, the payment or
              receipt of money or property.

31 U.S.C. § 3729 (2009).

   B. The Medicare Program

       40.    In 1965, Congress enacted Title XVIII of the Social Security Act, which

established the Medicare program to provide health insurance for the elderly and disabled. 42

U.S.C. § 1395, et seq. Medicare is a health insurance program for: people age 65 or older;




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people under age 65 with certain disabilities; and people of all ages with end-stage renal

disease. 42 U.S.C. § 426; 42 U.S.C. § 426A.

      41.        Part A of the Medicare Program authorizes payment for institutional care,

including hospital, skilled nursing facility, and home health care. See 42 U.S.C. §§1395c-

1395i-4.

      42.        In addition, hospitals with qualified graduate medical education programs are

entitled to additional Indirect Medical Education payment adjustments as outlined below.

      43.        Payments from the Medicare Program come from the Medicare Trust Fund, which

is funded through payroll deductions taken from the work force in addition to government

contributions.

      44.        The Medicare Program is administered through the United States Department of

Health and Human Services (HHS) and specifically, the Centers for Medicare and Medicaid

Services (CMS), an agency of HHS.

      45.        Initial enrollment application and updates. To participate in Medicare, each

provider must execute an initial enrollment application and may be required to update its

enrollment information “as part of the periodic revalidation process.”     CMS Form 855A,

Sections 1, 5, Medicare Enrollment Application, Institutional Providers, available at

https://www.cms.gov/Medicare/CMS-Forms/CMS-Forms/downloads/cms855a.pdf. As part of

the provider’s agreement with Medicare, the provider certifies that Medicare’s payments are

conditioned upon its compliance with Medicare laws, regulations, and program instructions:

                 3. . . . I understand that payment of a claim by Medicare is
                 conditioned upon the claim and the underlying transaction
                 complying with such laws, regulations, and program
                 instructions (including, but not limited to, the Federal Anti-
                 Kickback Statute and the Stark law), and on the provider’s



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              compliance with all applicable conditions of participation in
              Medicare.
                                         ****

              6.       I will not knowingly present or cause to be presented a
              false or fraudulent claim for payment by Medicare, and I will not
              submit claims with deliberate ignorance or reckless disregard of
              their truth or falsity.

Id. (emphasis added).

       46.    After the initial certification, the provider, through its officers, has an ongoing

duty to notify Medicare if anything on the form becomes untrue or inaccurate:

              If I become aware that any information in this application is not
              true, correct, or complete, I agree to notify the Medicare fee-for-
              service contractor of this fact in accordance with the time frames
              established in 42 C.F.R. § 424.516(e).

                                            ****
              I agree to notify the Medicare contractor of any future changes to
              the information contained in this application in accordance with
              the time frames established in 42 C.F.R. § 424.516(e). Id.

       47.    As a further prerequisite to payment by Medicare, including payment of the

Indirect Medical Education adjustment, CMS also requires hospitals to submit annually the

CMS-2552 form, more commonly known as the hospital cost report.                 See 42 U.S.C.

§1395(g)(a); 42 C.F.R. §413.20; see also § 405.1801(b)(1).

       48.    Medicare relies upon the information submitted by the hospital in the cost report

to calculate the amount of the Indirect Medical Education payment adjustment.

       49.    The submission of accurate information on the cost report is material to the

Government’s decision to pay the claims and payment adjustments.




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         50.   In order to be reimbursed by Medicare, a hospital executive must execute an

 express certification in the cost report. The cost report states as follows:

               MISREPRESENTATION OR FALSIFICATION OF ANY
               INFORMATION CONTAINED IN THIS COST REPORT MAY
               BE   PUNISHABLE   BY   CRIMINAL,    CIVIL   AND
               ADMINISTRATIVE     ACTION,     FINE      AND/OR
               IMPRISONMENT     UNDER       FEDERAL       LAW.
               FURTHERMORE, IF SERVICES IDENTIFIED IN THIS
               REPORT WERE PROVIDED OR PROCURED THROUGH THE
               PAYMENT DIRECTLY OR INDIRECTLY OF A KICKBACK
               OR WERE OTHERWISE ILLEGAL, CRIMINAL, CIVIL, AND
               ADMINISTRATIVE     ACTION,    FINES      AND/OR
               IMPRISONMENT MAY RESULT.

         51.   This advisory is followed by the following certification language:

               CERTIFICATION BY OFFICER OR ADMINISTRATOR OF
               PROVIDER(S)

               I HEREBY CERTIFY that I have read the above certification
               statement and that I have examined the accompanying
               electronically filed or manually submitted cost report and the
               Balance Sheet and Statement of Revenue and Expenses prepared
               by [Provider Name(s)] for the cost reporting period beginning
               [date] and ending [date] and that to the best of my knowledge and
               belief, this report and statement are true, correct, complete and
               prepared from the books and records of the provider in accordance
               with the applicable instructions, except as noted. I further certify
               that I am familiar with the laws and regulations regarding the
               provision of the health care services, and that the services
               identified in this cost report were provided in compliance with
               such laws and regulations.

    C. Regulations Regarding the Calculation of Indirect Medical Education Payments

         52.   Hospitals contract with Medicare to furnish acute hospital inpatient care and agree

to accept predetermined acute inpatient prospective payment system (IPPS) rates as payment in

full.

         53.   The IPPS per-discharge payment is based on national base payment rates, or

standardized amounts, for: (1) operating expenses; and (2) capital expenses.



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       54.     Section 1886(d)(5)(B) of the Social Security Act provides that hospitals with

residents in an approved medical education program receive an additional payment adjustment,

called the Indirect Medical Education payment adjustment, for every Medicare case paid under

the IPPS to reflect the higher patient care costs of teaching hospitals relative to non-teaching

hospitals. 42 U.S.C. §1395ww(d)(5)(B).

       55.     When Congress established this payment, Congress acknowledged:

               This adjustment is provided in light of doubts...about the ability of
               the DRG case classification system to account fully for factors
               such as severity of illness of patients requiring the specialized
               services and treatment programs provided by teaching institutions
               and the additional costs associated with the teaching of
               residents...The adjustment for indirect medical education costs is
               only a proxy to account for a number of factors which may
               legitimately increase costs in teaching hospitals.

House Ways and Means Committee Rept, No. 98-25, March 4, 1983 and Senate Finance

Committee Rept, No. 98-23, March 11, 1983.

       56.     There are two different IME adjustments: (1) one adjustment for the operating

expenses; and (2) one adjustment for the capital expenses.

       57.     The hospital does not submit claims for the Indirect Medical Education payment

adjustment. Instead, once the adjustment is set based on the information provided by the hospital

in the cost report, the hospital receives the adjustment payment on every Medicare discharge

until the Indirect Medical Education payment adjustment is reset the following year using the

updated data in the cost report.

       58.     Under the statute, the amount of the Indirect Medical Education adjustment for

operating expenses is calculated using the following equation: c x [(1+r).405 – 1]. C, the

multiplier, is set by Congress. R is the “is the ratio of the hospital’s full-time equivalent interns

and residents to beds.” 42 U.S.C. § 1395ww(d)(5)(B)(ii)(emphasis added).



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       59.     42 U.S.C. § 1395ww(d)(5)(B)(vi)(I) reiterates that “‘r’ may not exceed the ratio

of the number of interns and residents, subject to limit under clause (v), with respect to the

hospital for its most recent cost reporting period to the hospital’s available beds (as defined by

the Secretary) during that cost reporting period.” (emphasis added).

       60.     The teaching hospital’s ratio of full-time equivalent residents to the number of

beds is based on the information reported by the hospital in the cost report.

       61.     Under 42 C.F.R. §412.105(b), the “number of beds” as used in the calculation of

the operating IME payment adjustment is defined as follows:

               (b) Determination of the number of beds. For purposes of this
               section, the number of beds in a hospital is determined by counting
               the number of available bed days during the cost reporting period
               and dividing that number by the number of days in the cost
               reporting period. This count of available bed days excludes bed
               days associated with -
                   (1) Beds in a unit or ward that is not occupied to provide a
                   level of care that would be payable under the acute
                   care hospital inpatient prospective payment system at any time
                   during the 3 preceding months (the beds in the unit or ward are
                   to be excluded from the determination of available bed days
                   during the current month);
                   (2) Beds in a unit or ward that is otherwise occupied (to
                   provide a level of care that would be payable under the acute
                   care hospital inpatient prospective payment system) that could
                   not be made available for inpatient occupancy within 24 hours
                   for 30 consecutive days;
                   (3) Beds in excluded distinct part hospital units;
                   (4) Beds otherwise countable under this section used for
                   outpatient observation services, skilled nursing swing-bed
                   services, or inpatient hospice services.
                   (5) Beds or bassinets in the healthy newborn nursery; and
                   (6) Custodial care beds.




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       62.     Further guidance on what constitutes “available beds” is provided in the Provider

Reimbursement Manual, Pub. 15-1, § 2405.3(G). The Manual states, “The term ‘available beds’

as used for the purpose of counting beds is not intended to capture the day-to-day fluctuations in

patient rooms and wards being used. Rather, the count is intended to capture changes in the size

of a facility as beds are added to or taken out of service.” The Manual further states, “In the

absence of evidence to the contrary, beds available at any time during the cost reporting period

are presumed to be available during the entire cost reporting period. The hospital bears the

burden of proof to exclude beds from the count.” Id.

       63.     Worksheet S-3 is part of the hospital’s cost report. It is entitled “Hospital and

Hospital Health Care Complex Statistical Data and Hospital Wage Index Information.” CMS

requires hospitals to submit accurate statistical data on Worksheet S-3, Part 1 regarding beds,

patient days, discharges, and full-time employees.

       64.     Worksheet S-3, Part I, Column 2 requires the hospital to report the “No. of Beds”

for each of the lines of data. Column 3 requires the hospital to report the “Bed Days Available”

for each of the rows of data. See Exhibit A.

       65.     CMS published the following instructions for reporting “No. of Beds” in Column

2 and “Bed Days Available” in Column 3 on Worksheet S-3, Part 1:

               Column 2—Refer to 42 CFR 412.105(b) and 69 FR 49093-49098
               (August 11, 2004) to determine the facility bed count. Indicate the
               number of beds available for use by patients at the end of the cost
               reporting period.

               A bed means an adult bed, pediatric bed, portion of inpatient
               labor/delivery/postpartum room (also referred to as a birthing
               room) bed when used for services other than labor and delivery, or
               newborn ICU bed (excluding newborn bassinets) maintained in a
               patient care area for lodging patients in acute, long term, or
               domiciliary areas of the hospital. Beds in post-anesthesia, post-
               operative recovery rooms, outpatient areas, emergency rooms,



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               ancillary departments (however, see exception for labor and
               delivery department), nurses' and other staff residences, and other
               such areas that are regularly maintained and utilized for only a
               portion of the stay of patients (primarily for special procedures or
               not for inpatient lodging) are not termed a bed for these purposes.
               (See CMS Pub. 15-1, chapter 22, §2205.)

               For cost reporting periods beginning prior to October 1, 2012, beds
               in distinct ancillary labor and delivery rooms and the proportion of
               LDP room (birthing room) used for labor and delivery services are
               not a bed for these purposes. (See 68 FR 45420 (August 1,
               2003)).

               For cost reporting periods beginning on or after October 1, 2012,
               in accordance with 77 FR 53411-53413 (August 31, 2012), beds
               in distinct labor and delivery rooms, when occupied by an inpatient
               receiving IPPS-level acute care hospital services or when
               unoccupied, are considered to be part of a hospital’s inpatient
               available bed count in accordance with 42 CFR 412.105(b) and are
               to be reported on line 32. Furthermore, the proportion of inpatient
               LDP room (birthing rooms) beds used for ancillary labor and
               delivery services is considered to be part of the hospital’s available
               bed count.

               Column 3--Enter the total bed days available. Bed days are
               computed by multiplying the number of beds available throughout
               the period in column 2 by the number of days in the reporting
               period. If there is an increase or decrease in the number of beds
               available during the period, multiply the number of beds available
               for each part of the cost reporting period by the number of days for
               which that number of beds was available.

See Exhibit B, Medicare Provider Reimbursement Manual, Part 2, Provider Cost Reporting

Forms and Instructions, Chapter 40, Form CMS-2552-10, §4005.1 (March 16, 2018).

       66.     The Lines on Worksheet S-3 refer to different components. Included below is a

replication of the lines of data found in Worksheet S-3, Part I:

       Line number       Component Description

       1                 Hospital Adults & Peds. (columns 5, 6, 7, 8, and exclude Swing Bed,
                         Observations Bed and Hospice days)(see instructions for col. 2 for the
                         portion of the LDP room available beds)
       2                 HMO and other (see instructions)


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       Line number       Component Description

       3                 HMO IPF Subprovider
       4                 HMO IRF Subprovider
       5                 Hospital Adults & Peds. Swing Bed SNF
       6                 Hospital Adults & Peds. Swing Bed NF
       7                 Total Adult & Peds. (exclude observation beds)(see instructions)
       8                 Intensive Care Unit
       9                 Coronary Care Unit
       10                Burn Intensive Care Unit
       11                Surgical Intensive Care Unit
       12                Other Special Care
       13                Nursery
       14                Total (see instructions)
       15                CAH visits
       16                Subprovider - IPF
       17                Subprovider - IRF
       18                Subprovider - Other
       19                Skilled Nursing Facility
       20                Nursing Facility
       21                Other Long Term Care
       22                Home Health Agency
       23                ASC (Distinct Part)
       24                Hospice (Distinct Part)
       24.10             Hospice (non-distinct part)
       25                CMHC
       26                RHC/FQHC (specify)
       27                Total (sum of lines 14-26)
       28                Observation Bed Days
       29                Ambulance Trips
       30                Employee discount days (see instructions)
       31                Employee discount days – IRF
       32                Labor & delivery (see instructions)
       32.01             Total ancillary labor & delivery rooms outpatient days (see
                         instructions)
       33                LTCH non-covered days
       33.01             LTCH site neutral days and discharges

       67.      Line 14, Column 3 requires the hospital to report the Total number of Bed Days

Available during the reporting period.    The cost report form specifically references CMS’

instructions.




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       68.     Worksheet E, Part A is also part of the hospital’s cost report. It is entitled

“Calculation of Reimbursement Settlement.” One of the purposes of Worksheet E, Part A is for

the hospitals to provide CMS with data to determine the hospital’s Indirect Medical Education

operating payment adjustment. CMS requires hospitals to submit accurate data on Worksheet E,

Part A regarding the calculation of the Indirect Medical Education payment adjustment. See

Exhibit C.

       69.     Line 4 on Worksheet E, Part 4 requires hospitals to report “Bed days available

divided by number of days in the cost reporting period (see instructions).” Again, the cost report

form specifically references CMS’ instructions.

       70.     CMS published the following instructions for Worksheet E, Part A, which change

over different cost reporting periods:

               Line 4--Enter the result of dividing the number of bed days
               available (Worksheet S-3, Part I, column 3, line 14) by the number
               of days in the cost reporting period (365, or 366 in case of leap
               year). Effective for cost reporting periods beginning on or after
               October 1, 2012, enter the result of dividing the number of bed
               days available (Worksheet S-3, Part I, column 3, line 14 plus line
               32) by the number of days in the cost reporting period (365, or 366
               in case of leap year).

               NOTE:           Reduce the bed days available by swing-bed days
               (Worksheet S-3, Part I, column 8, sum of lines 5 and 6), and the
               number of observation days (Worksheet S-3, Part I, column 8, line
               28). In addition, effective for cost reporting periods beginning on
               or after October 1, 2011, reduce the bed days available by the
               number of non-distinct part hospice days (Worksheet S-3, Part I,
               column 8, line 24.10) and effective for cost reporting periods
               beginning on or after October 1, 2012, the number of outpatient
               ancillary labor and delivery days (Worksheet S-3, Part I, column 8,
               line 32.01).

See Exhibit D, Medicare Provider Reimbursement Manual, Part 2, Provider Cost Reporting

Forms and Instructions, Chapter 40, Form CMS-2552-10, §4030.1 (March 16, 2018).




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       71.     As explained in the instructions, hospitals must use data reported in Worksheet S-

3, Part I in their calculations on Worksheet E, Part A.

       72.     Specifically, starting for cost reporting periods beginning on or after October 1,

2012, the Worksheet E, Part 4 instructions require hospitals to add the number of bed days

available as reported on column 3, Line 14 of Worksheet S-3, Part I to the number of bed days

available in Labor & delivery on column 3, Line 32 of Worksheet S-3, Part I.

       73.     The instructions permit hospitals to reduce the bed days available by the number

of swing bed days available as reported on column 8, Lines 5 and 6 of Worksheet S-3, Part I, and

the number of observation days as reported on column 8, Line 28 of Worksheet S-3, Part I.

       74.     Starting for cost reporting periods beginning on or after October 1, 2011, the

instructions permit hospitals to reduce the bed days available by the number of non-distinct part

hospice days as reported on column 8, Line 24.10 of Worksheet S-3, Part I.

       75.     Starting for cost reporting periods beginning on or after October 1, 2012, the

instructions permit hospitals to reduce the bed days available by the number of outpatient

ancillary labor and delivery days as reported on column 8, Line 32.10 of Worksheet S-3, Part I.

       76.     Other Lines on Worksheet E, Part 4 include data used for the calculation of the

number of residents in Line 18. Line 19 instructs hospitals to divide Line 18 (“Adjusted rolling

average FTE count”) by Line 4 (Bed days available divided by number of days in the cost

reporting period (see instructions)). This ratio is used in the final Indirect Medical Education

payment adjustment calculation for operating expenses.

       77.     Using accurate numbers in Worksheet E, Part A is material to the Government’s

decision to pay for the Indirect Medical Education payment adjustment.




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       78.    Teaching hospitals also receive an IME payment associated with the capital

expenses portion of the Medicare IPPS payment. This payment is based on a different

formula. Currently the formula is e ^ (.2822*Resident/Average Daily Census)-1. 42 C.F.R.

§412.322.

       79.    As shown in the formula, for this calculation, instead of using the ratio of

residents to available beds, hospitals are permitted to use the ratio of residents to the average

daily census. The regulations define average daily census as determined “by dividing the total

number of inpatient days in the acute inpatient area of the hospital by the number of days in

the cost reporting period.” 42 C.F.R. §412.322(a)(2).

       80.    Hospitals report the data for this calculation and the final payment adjustment

on Worksheet L, Lines 3-6. See Exhibit E.

       81.    CMS published the following instructions for Worksheet L:

              Indirect Medical Education Adjustment

              Lines 3 through 6

              Line 3--Enter the result of dividing the sum of total patient days
              (Worksheet S-3, Part I, column 8, lines 14 and 30) by the number
              of days in the cost reporting period (365, or 366 in case of leap
              year). Effective for cost reporting periods beginning on or after
              October 1, 2013, also include in total patient days, the labor and
              delivery days from Worksheet S-3, Part I, column 8, line 32. Do
              not include statistics associated with an excluded unit (sub-
              provider).

                      NOTE: Reduce total patient days by nursery days
                      (Worksheet S-3, Part I, column 8, line 13), and swing-bed
                      days (Worksheet S-3, Part I, column 8, lines 5 and 6).

              Line 4--Obtain the intern and resident amount from Worksheet E,
              Part A, line 18, plus line 25.

              Line 5--Enter the result of the following calculation: {e.2822 x line
              4/line 3
                       }-1 where e = 2.71828. See 42 CFR 412.322(a)(3) for



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               limitation of the percentage of I&Rs to average daily census. Line
               4 divided by line 3 cannot exceed 1.5.

               Line 6--Multiply line 5 by the sum of lines 1 and 1.01, columns 1
               and 1.01.

See Exhibit F, Medicare Provider Reimbursement Manual, Part 2, Provider Cost Reporting

Forms and Instructions, Chapter 40, Form CMS-2552-10, §4064.1.

       82.     As evident in these instructions, while hospitals use the same number of residents

as reported in the operating expenses portion of the Indirect Medical Education payment

adjustment calculation on Worksheet E, the denominator used when calculating the capital

expenses portion of the Indirect Medical Education payment adjustment takes into account

patient days from the average daily census instead of available bed days.

                                 FACTUAL ALLEGATIONS

       83.     While working on reimbursement issues and cost reports at Children’s

Hospital (a/k/a Children’s National Medical Center) in Washington, D.C., Relator Roark

discovered that the hospital falsely underreported the number of “bed days available divided

by the number of days in the cost reporting period” on Worksheet E, Part A, Line 4 of its

annual Medicare cost reports submitted on CMS Form 2552-10.

       84.     As a result of falsely underreporting the number of beds available in Worksheet E,

Part A, Children’s Hospital fraudulently increased its ratio of residents to beds used in the

Indirect Medical Education payment adjustment calculation, thereby causing Children’s Hospital

to receive millions of additional dollars from Medicare than was appropriate.

       85.     In June 2015, Children’s Hospital agreed to pay the United States $12.9 million to

resolve a number of different allegations, one of which was that the hospital violated the False

Claims Act by submitting false cost reports and other applications to the United States that




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contained an inaccurate total number of “available beds.” See Exhibit G, Settlement Agreement

between the United States and Children’s Hospital.

       86.     Based on conversations with other industry professionals, Relators became aware

that Children’s Hospital was not the only hospital perpetrating this fraud.

       87.      Using their particularized skills and depth of knowledge related to hospital

reimbursement issues, Relators set out to determine the amount of overpayments other hospitals

had received by fraudulently underreporting the “bed days available divided by the number of

days in the cost reporting period” in Worksheet E, Part A of CMS Form 2552-10.

       88.     Relators obtained data from Worksheet S-3, Part I and Worksheet E, Part A of the

cost reports submitted on CMS Form 2552-10 for fiscal years 2011 – present, which covered up

to fiscal years 2017 for some hospitals and fiscal year 2018 for other hospitals.

       89.     Relator Roark used the data reported by the teaching hospitals in Worksheet S-3,

Part I to calculate the numbers the teaching hospitals should have reported in Worksheet E, Part

A for the operating expenses portion of the Indirect Medical Education payment adjustment.

       90.     The results were astounding.        Relator Roark identified 7,400 cost reports

submitted during this time period by hospitals that received Indirect Medical Education payment

adjustments. Approximately 22% of the cost reports, including those submitted by the named

Defendant Hospitals, fraudulently underreported the number of available beds, thereby

fraudulently increasing the operating expenses portion of the Indirect Medical Education

payment adjustments received from Medicare.

       91.     In total, Relators identified over $512 million in overpayments from the Medicare

Program related to 658 hospitals falsely underreporting the “bed days available divided by the

number of days in the cost reporting period” in Worksheet E, Part A of CMS Form 2552-10 and




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thereby falsely inflating the Indirect Medical Education payment adjustments the hospitals

received from Medicare.

       92.     The Defendant Hospitals submitted these false cost reports despite explicitly

certifying to HHS, year after year, that the information contained in the cost reports was “true,

correct, complete and prepared from the books and records of the provider in accordance with

the applicable instructions.”

       93.     The Defendant Hospitals acted knowingly or with reckless disregard for the clear

Medicare statutes, regulations, and instructions regarding the appropriate way to calculate the

“bed days available divided by the number of days in the cost reporting period” in Worksheet E,

Part A of CMS Form 2552-10. In fact, of the 7,400 cost reports reviewed by Relator Roark, 78%

of the cost reports reported accurate numbers of available beds in Worksheet E or overreported

the number of available beds, thereby causing underpayments from Medicare for the Indirect

Medical Education payment adjustments. The Defendant Hospitals instead chose to profit from

fraudulently underreporting their available bed counts.

       94.     For example, the following Defendant Hospitals in South Carolina either

knowingly or with reckless disregard falsely underreported the “bed days available divided by

the number of days in the cost reporting period” in Worksheet E, Part A on CMS Form 2552-10,

resulting in the overpayments from the Medicare Program identified in the chart below:

                                                                                    False Cost
             CMS                                                   Provider's        Reports
          Certification                 Provider                     Total          Submitted
            Number                                               Overpayments         to the
                                                                                   Government
                                                                                   2011, 2012,
                                MEDICAL UNIVERSITY OF
             420004                                                $2,326,268      2013, 2014,
                                  SOUTH CAROLINA
                                                                                    2016, 2017




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                                                                                    False Cost
            CMS                                                   Provider's         Reports
         Certification                 Provider                     Total           Submitted
           Number                                               Overpayments          to the
                                                                                   Government
                                                                                   2012, 2013,
                           AIKEN REGIONAL MEDICAL
             420082                                                 $430,699       2014, 2015,
                                   CENTER
                                                                                    2016, 2017
             420018           PALMETTO RICHLAND                     $252,056        2012, 2015
                           GRAND STRAND REGIONAL                                    2016, 2017
             420085                                                 $248,476
                              MEDICAL CENTER

       95.    By way of further example, the following Defendant Hospitals identified below

either knowingly or with reckless disregard falsely underreported the “bed days available divided

by the number of days in the cost reporting period” in Worksheet E, Part on CMS Form 2552-10,

resulting in the overpayments from the Medicare Program identified in the chart below:

                                                                                    False Cost
            CMS                                                   Provider's         Reports
         Certification                 Provider                     Total           Submitted
           Number                                               Overpayments          to the
                                                                                   Government
                                                                                   2012, 2013,
                                                                                   2014, 2015,
             330194           Maimonides Medical Center           $52,513,729
                                                                                   2016, 2017,
                                                                                       2018
                                                                                    2012, 2013,
                                                                                    2014, 2015,
             330241                                               $32,773,169
                                                                                    2016, 2017,
                                                                                       2018
                              Upstate University Hospital
                                                                                    2012, 2013,
                                                                                    2014, 2015,
             030111                                                                 2016, 2017,
                           Banner University Medical Center
                                                                                       2018
                                       South                      $19,091,732
                                                                                    2011, 2012,
                                                                                    2013, 2014,
             330204                                                                 2015, 2016,
                                                                                       2017
                           NYC Health + Hospitals Bellevue        $15,933,067
                                                                                    2012, 2014,
             330214         New York University Langone
                                                                                    2015, 2016
                                  Tisch Hospital                  $14,952,295

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                                                                       False Cost
      CMS                                                Provider's     Reports
   Certification               Provider                    Total       Submitted
     Number                                            Overpayments      to the
                                                                      Government
                                                                      2012, 2013,
     310015                                                           2014, 2015,
                                                                          2016
                     Morristown Medical Center          $11,362,582
                   SUNY Downstate Medical Center                      2012, 2015
     330350
                    University Hospital of Brooklyn     $11,236,739
                                                                      2011, 2012,
     060024                                                           2013, 2015,
                   UCHealth University of Colorado
                                                                      2016, 2017
                             Hospital                   $10,596,593
                                                                      2013, 2015,
     390050                                                           2016, 2017
                     Allegheny General Hospital         $8,912,150
                       New York-Presbyterian                          2014, 2016,
     330101         Hospital/Weill Cornell Medical                       2018
                               Center                   $8,636,158
                                                                      2012, 2013,
     260141                                                           2014, 2015,
                                                                      2016, 2017
                    University of Missouri Hospital     $8,376,580
                                                                      2014, 2015,
     330046                                                           2016, 2017,
                                                                         2018
                        Mount Sinai St. Luke's          $7,618,935
                                                                      2011, 2013,
     050454                                                           2015, 2016
                   UCSF Medical Center at Parnassus     $7,063,062
                     Mayo Clinic Hospital - Saint                        2018
     240010
                          Mary's Campus                 $6,283,828
                                                                      2011, 2012,
     390164                                                           2015, 2016,
                                                                         2017
                          UPMC Presbyterian             $6,204,132
                                                                      2013, 2014,
     450068                                                           2015, 2016,
                      Memorial Hermann - Texas
                                                                         2017
                          Medical Center                $5,732,221
                                                                      2011, 2012,
     220071                                                           2013, 2016,
                                                                         2017
                    Massachusetts General Hospital      $5,440,866
                                                                      2014, 2017,
     330195                                                              2018
                   Long Island Jewish Medical Center    $5,305,578




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       96.     Instead of using accurate data from Worksheet S-3, Part-I in their calculations on

Worksheet E, Part A, the Defendant Hospitals used other data to knowingly or recklessly

disregard the rules for these calculations and fraudulently increase their Indirect Medical

Education payment adjustments on the operating expenses of the Medicare IPPS per-discharge

payment.

       97.     For example, Relator Roark calculated that St. Luke’s University Hospital –

Bethlehem, one of the Joe Doe Defendant Hospitals, fraudulently obtained an overpayment of

$3.8 million by knowingly or recklessly disregarding the relevant regulations.

       98.     In a presentation to industry representatives, Steven J. Frankenbach, the Senior

Director of Network Reimbursement Services of St. Luke’s University Hospital system,

incorrectly described the “typical source” for “bed days available” in the “Operating IME

Example” as “current year census by nursing unit.”

       99.     This is the wrong source to use for the number of bed days available for the

operating expenses portion of the Indirect Medical Education payment adjustment. The accurate

number is bed days available as defined in the regulations and accompanying instructions to

Worksheets S-3, Part I and Worksheet E, Part A, not the lower census number, which would

fraudulently increase the Indirect Medical Education payment the hospital received. See Exhibit

H, Graduate Medical Education Financing Basics, Association of Osteopathic Directors and

Medical Educators (April 25, 2014) at Slide 6.

       100.    Relators believe other hospitals have falsely reported these lower census numbers,

which are instead used in the calculation of the capital expenses portion of the Indirect Medical

Education payment adjustment, rather than complying with the relevant regulations and

instructions for Worksheets S-3, Part I and Worksheet E, Part A, thereby causing the Defendant




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Hospitals to obtain fraudulently increased Indirect Medical Education payment adjustments on

the operating portion of their Medicare IPPS per-discharge payments.

                                      COUNT I
                      SCHEMES TO SUBMIT FRAUDULENT CLAIMS
                               31 U.S.C. § 3729 (a)(1)(A)

       101.    Relators incorporate and reallege each allegation in each of the preceding

paragraphs as if fully set forth herein.

       102.    As a result of the fraud schemes described above, the Defendant Hospitals, by and

through their agents, offices, employees, and affiliates, knowingly presented, or caused to be

presented, numerous false or fraudulent claims for payment or approval in violation of the FCA,

31 U.S.C. § 3729 (a)(1)(A).

       103.    Use of accurate data for the calculations in Worksheet S-3, Part I and Worksheet

E, Part A was material to the Government’s decision to make payment adjustments on the

operating expenses portion of the Medicare IPPS per-discharge payments for the Defendant

Hospitals.

       104.    As set forth above, ill-gotten gains from the aforementioned presentation of false

or fraudulent claims for payment or approval have been distributed to the Defendant Hospitals.

       105.    As a direct and proximate result of the false or fraudulent claims knowingly

presented or caused to be presented by the Defendant Hospitals, the United States has suffered

actual damages and is entitled to recover treble damages, plus a civil monetary penalty, for each

false claim.




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                                     COUNT II
                       SUBMISSION OF CLAIMS CONTAINING
                    FALSE EXPRESS OR IMPLIED CERTIFICATIONS
                              31 U.S.C. § 3729 (a)(1)(B)

       106.    Relators incorporate and reallege each allegation in each of the preceding

paragraphs as if fully set forth herein.

       107.    By virtue of the acts alleged herein, the Defendant Hospitals knowingly made,

used, or caused to be made or used, false records or statements—i.e., false certifications and

representations made or caused to be made by Defendants—material to false or fraudulent claims

in violation of 31 U.S.C. § 3729(a)(1)(B).

       108.    By submitting claims for payment and retaining improperly obtained payments,

the Defendant Hospitals expressly and impliedly, if falsely, certified their compliance with the

relevant regulations authorizing such payments.

       109.    Use of accurate data for the calculations in Worksheet S-3, Part I and Worksheet

E, Part A was material to the Government’s decision to make payment adjustments to the

operating expenses portion of the Medicare IPPS per-discharge payments for the Defendant

Hospitals.

       110.    As a direct and proximate result of the false or fraudulent claims knowingly

presented or caused to be presented by the Defendant Hospitals, the United States has suffered

actual damages and is entitled to recover treble damages, plus a civil monetary penalty, for each

false claim.

                                         COUNT III
                              FALSE RECORDS FOR PAYMENT
                                  31 U.S.C. § 3729 (a)(1)(B)

       111.    Relators incorporate and reallege each allegation in each of the preceding

paragraphs as if fully set forth herein.



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         112.   The Defendant Hospitals submitted false records or statements to the Government

representing that the Defendant Hospitals were entitled to certain amounts of payment

adjustments on the operating expenses portion of the Medicare IPPS per-discharge payment. All

such false records or statements were knowingly made and material to the Government to get

false or fraudulent claims paid or approved by the Government.

         113.   The Defendant Hospitals, thus, knowingly made, used, or caused to be made or

used, false records or statements to get excess false or fraudulent claims paid or approved by the

Government.

         114.   As a direct and proximate result of the false or fraudulent claims knowingly

presented or caused to be presented by Defendants, the United States has suffered actual

damages and is entitled to recover treble damages, plus a civil monetary penalty, for each false

claim.

                                            PRAYER

         WHEREFORE, Plaintiffs respectfully prays and demands the following:

         (a)    That process issue and service be made upon Defendants to appear and answer

this Complaint as provided by law;

         (b)    That judgment be entered in favor of Plaintiffs and against Defendants on all

counts of the Complaint;

         (c)    That Plaintiffs be awarded all damages flowing from Defendants’ wrongful acts;

         (d)    That Plaintiffs be awarded three (3) times the amount of damages sustained by the

United States pursuant to 31 U.S.C. § 3729, et seq.;

         (e)    That Plaintiffs be awarded a civil penalty for each wrongful act by Defendants,

pursuant to 31 U.S.C. § 3729, et seq.;




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       (f)     That Relator Roark and Relator Davis be awarded a portion of all damages,

pursuant to 31 U.S.C. § 3729, et seq.;

       (g)     That Relator Roark and Relator Davis be awarded expenses, attorneys’ fees and

costs, pursuant to 31 U.S.C. § 3729, et seq.;

       (h)     That Plaintiffs be awarded such other and further relief as is justified by the facts

and law that this Court deems just and proper; and,

       (i)     That Plaintiffs be granted a trial by jury.

       Submitted this 10th day of April, 2019.

                                                       Counsel for Plaintiff/Relators


                                                       /s/ William N. Nettles
                                                       WILLIAM N. NETTLES
                                                       South Carolina Bar No. 6586
                                                       FRAN C. TRAPP
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